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                      UNITED   STATES   DISTRICT   COURT
                        DISTRICT OF MASSACHUSETTS


ARKANSAS TEACHER RETIREMENT SYSTEM,
on behalf of i t s e l f and all others
similarly situated,
     Plaintiff
                                                   C.A.   No.   11-10230-MLW
            V.



STATE STREET BANK AND TRUST COMPANY,
      Defendants.


ARNOLD HENRIQUEZ, MICHAEL T.
COHN,WILLIAM R. TAYLOR, RICHARD A.
SUTHERLAND,      and those similarly
situated.
      Plaintiff


            V.                                     C.A.   No.   11-12049-MLW


STATE STREET BANK AND TRUST COMPANY,
      Defendants.


THE ANDOVER COMPANIES EMPLOYEE
SAVINGS AND PROFIT SHARING PLAN,         on
behalf of itself,      and JAMES
PEHOUSHEK-STANGELAND and all others
similarly situated.
      Plaintiff


            V.                                     C.A.   No.   12-11698-MLW


STATE STREET BANK AND TRUST COMPANY,
      Defendants.

                                   ORDER



     WOLF, D.J.                                             April 23, 2018

     On March 1, 2018, the court granted the Master, Retired United

States District Judge Gerald Rosen, what the Master characterized

as   a "final request" for an extension of time until April 23,
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2018, to file his Report and Recommendation ("Report").                          See Mar.

1,    2018 Order     (Docket No.        216).

       The court has now received the attached April 23, 2018 letter

from the Master.^             He    requests    an extension to May 14,              2018   to

submit his Report and related exhibits.                   The Master states that he

may need additional time to submit the complete record of all of

the evidence in both documentary and electronic form as required

by the March 1, 2018 Order.                The Master explains that his request

for    a    further extension is           justified by the the unanticipated,

recent designation of eight additional experts by the law firms

whose conduct is being investigated,                    related required additional

discovery,        and the need to be responsive to the court's request

that the Master submit his Report in a searchable, electronic form.

        The court continues to be satisfied that the Master has been


working       diligently.          It   also    finds   that   providing       the    Master

additional        time   to     finish    both    his    Report   and    its    Executive

Summary, and to convert both into an electronic, searchable form,

will contribute to the court's ability to make informed decisions




           ^ The April 23,         2018 letter concerning this administrative
matter       resulted    from      communications       between   the   Master       and    the
court permitted by paragraph 6 of the March 8, 2017 Order (Docket
No.    173).
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efficiently.       Therefore, the Master's request for an extension to

May 14, 2018, to file his Report is being allowed.

         The Master also explains that the emergence of unforeseen,

issues and related discovery require an additional approximately

$300,000 to provide complete, reasonable compensation for his work

through filing his Report.           He also requests a reserve of at least

$500,000      for his   anticipated participation in proceedings after

his Report is filed.         Having reviewed and approved the bills of

the Master and those he employs, the court finds that he has been

working efficiently and that the request for $800,000 additional

funding is justified.

         Accordingly,   it is hereby ORDERED that:

         1.   The Master shall file his Report and Recommendation by

May 14, 2018, and may request reasonable additional time to file

the complete record of the related evidence.                  See Mar.   8,   2017

Order     (Docket No.   173) ,   fSI4,   11; Mar.   1,   2018 Order   (Docket No.

216) .
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     2.    The   Master's   request    for    an   additional   $800,000   is

ALLOWED.   Labaton Sucharow LLP shall, pursuant to paragraph 13 and

14 of the March 8,    2017 Order,     pay $800,000 to the Clerk of the

United States District Court for the District of Massachusetts by

May 11, 2018.




                                             UNITED STATES   DISTRICT JUDGE
